Case 23-34815 Document 846-14 Filed in TXSB on 12/04/24 Page 1 of 9




                       EXHIBIT 10-C
     Case 23-34815 Document 846-14 Filed in TXSB on 12/04/24 Page 2 of 9 Page 1



 1                     UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF TEXAS
 2                             HOUSTON DIVISION
        In re                          ) CASE NO: 23-34815 (JPN)
 3                                     )
        GALLERIA 2425 Owner, LLC,      ) Houston, Texas
 4                                     )
                  Debtor.              ) Monday, July 8, 2024
 5                                     )
                                       ) 11:10 a.m. to 11:17 a.m.
 6      ------------------------------)

 7
                                        HEARING
 8
                   BEFORE THE HONORABLE JEFFREY P. NORMAN
 9                     UNITED STATES BANKRUPTCY JUDGE
        APPEARANCES:
10
        For Debtor:                   REESE W. BAKER
11                                    Baker & Associates
                                      950 Echo Lane, Suite 300
12                                    Houston, TX 77024

13      For 2425 WL, LLC:             H. GRAY BURKS, IV
                                      BurksBaker, PLLC
14                                    950 Echo Lane, Suite 300
                                      Houston, TX 77024
15
                                      STEPHEN SATHER
16                                    Barron & Newburger, P.C.
                                      7320 North Mopac Expressway
17                                    Suite 400
                                      Austin, TX 78731
18
        For the Trustee:              R.J. SHANNON
19                                    Shannon & Lee LLP
                                      2100 Travis Street, Suite 1525
20                                    Houston, TX 77002

21      For QB Loop Property:         SIMON RICHARD MAYER
                                      Locke Lord LLP
22                                    600 Travis, Suite 2800
                                      Houston, TX 77002
23
        For Sonder USA:               BROOCKS WILSON
24                                    Kean Miller LLP
                                      711 Louisiana Street, Suite 1800
25                                    Houston, TX 77002
     Case 23-34815 Document 846-14 Filed in TXSB on 12/04/24 Page 3 of 9 Page 2



 1      For RGN:                      MICHELLE E. SHRIRO
                                      Singer & Levick PC
 2                                    16200 Addison Road, Suite 140
                                      Addison, TX 75001
 3
        For National Bank of          ANDREW M. TROOP
 4      Kuwait:                       PATRICK E. FITZMAURICE
                                      Pillsbury Winthrop Shaw Pittman
 5                                    31 West 52nd Street
                                      New York, NY 10019-6131
 6
        Court Reporter:               UNKNOWN
 7
        Courtroom Deputy:             UNKNOWN
 8
        Transcribed by:               Veritext Legal Solutions
 9                                    330 Old Country Road, Suite 300
                                      Mineola, NY 11501
10                                    Tel: 800-727-6396

11
        Proceedings recorded by electronic sound recording;
12      Transcript produced by transcription service.

13

14

15

16

17

18

19

20

21

22

23

24

25
     Case 23-34815 Document 846-14 Filed in TXSB on 12/04/24 Page 4 of 9 Page 3



 1                HOUSTON, TEXAS; MONDAY JULY 8, 2024; 11:10 AM

 2                                 (Call to Order)

 3                   THE COURT:    All right, good morning.     It's 9:00

 4      and we're on the record for July 8, 2024.          I appreciate

 5      everyone attending given the storm.         I have power currently.

 6      If it goes out, we may get disconnected but a generator

 7      should kick back in if we have any problems.          So, let me go

 8      ahead and call Galleria 2425 Owner, LLC, 23-34815.

 9      Appearances, please.

10                   MR SHANNON:    Good morning, Your Honor.      RJ Shannon

11      on behalf of the Trustee, Christopher Murray, who is also on

12      the line.

13                   THE COURT:    Thank you, Mr. Shannon.

14                   MR. MAYER:    Good morning, Your Honor.      Simon

15      Mayer, M-A-Y-E-R, on behalf of QB Loop Property, LP, the

16      proposed buyer.     And my client, Mr. --

17                   THE COURT:    Thank you, Mr. Mayer.

18                   MR. MAYER:    My client, Mr. Anwar Qadeer, has

19      called in.     He's lost power so he's not able to appear by

20      video, but he should be on the line.

21                   THE COURT:    Thank you.

22                   MR. WILSON:    Good morning, Your Honor.      Mack

23      Wilson for Sonder USA, Inc.

24                   THE COURT:    Thank you, Mr. Wilson.

25                   MR. BAKER:    Your Honor, Reese Baker on behalf of
     Case 23-34815 Document 846-14 Filed in TXSB on 12/04/24 Page 5 of 9 Page 4



 1      Galleria 2425 Owner.      I can -- I have no internet; I can

 2      only appear on the telephone.

 3                  THE COURT:    That's fine and we'll get to that in

 4      just a few seconds, thank you.

 5                  MS. SHRIRO:    Good morning, Michelle Shriro on

 6      behalf of the RGN Entities.

 7                  THE COURT:    Thank you.

 8                  MR. TROOP:    Your Honor, Andrew Troop, and Patrick

 9      Fitzmaurice on behalf of National Bank of Kuwait.

10                  THE COURT:    Thank you, sir.

11                  MR. SATHER:    Stephen Sather, on behalf of 2425 WL,

12      LLC and Gray Burks is appearing as well.

13                  THE COURT:    All right, thank you.      All right, I

14      think that is everyone.       Mr. Mayer just lost power, so it

15      looks like his went out.       All right, so --

16                  MR. MAYER:    Yes, I did.

17                  MR. QADEER:    Yeah, this is Anwar Qadeer from QB

18      Loop, my light's also off.       I'm on the phone.

19                  THE COURT:    That's fine, sir, you don't need to

20      make an appearance right now.        I appreciate you being on the

21      line though.     Okay, thank you.

22                  MR. QADEER:    Thank you.

23                  THE COURT:    All right, let me go first to Mr.

24      Shannon.    Obviously, given the weather and the closing of

25      the courthouse, I want to make sure that both you and the
     Case 23-34815 Document 846-14 Filed in TXSB on 12/04/24 Page 6 of 9 Page 5



 1      trustee are comfortable with going forward.          Mr.

 2      MacNaughton, do you want to make an appearance on this case,

 3      you just appeared on my screen?

 4                  MR. MACNAUGHTON:     Yes, sir, Your Honor, on behalf

 5      of 2425 West Loop, LLC, a tenant.

 6                  THE COURT:     All right, thank you very much.        All

 7      right, Mr. Shannon, are you comfortable going forward given

 8      the courthouse closing and where we are currently with the

 9      weather and the fact that no one or there may be parties who

10      cannot appear given lack of power, lack of internet?

11                  MR. SHANNON:     Thank you, Your Honor.        Again, RJ

12      Shannon of behalf of the Trustee for the record.             I am, the

13      Trustee is happy to go forward today.         I'll point out,

14      Judge, that there has not been any objections to the sale

15      that was filed.     There are no objections to the actual sale

16      to QB Loop.

17                  Now, there has been some comments to the proposed

18      order.    Most recently, just a few minutes ago, about 15

19      minutes ago I filed an updated revised proposed order

20      addressing a few of those comments.         But I do not believe

21      there is going to be any objection to the entry of the

22      revised proposed order at Docket Number 606-1.

23                  THE COURT:     All right, let me see, let me up -- I

24      reviewed the one that you had filed earlier.          I don't know

25      if you can hear the wind and noise in the background.             I
     Case 23-34815 Document 846-14 Filed in TXSB on 12/04/24 Page 7 of 9 Page 6



 1      apologize if you can.       All right, I have in front of me ECF

 2      606 which is the notice of revised pro-order.          Bear with me

 3      for one second.

 4                  MR. SHANNON:     And Judge, ECF 606-2 has the redline

 5      showing the changes.       And it's just the page -- it just the

 6      changes from the version filed last night.

 7                  THE COURT:     All right.   So, let me ask the parties

 8      since I just saw this that probably means that other parties

 9      have just seen it.       This was filed apparently this morning.

10      I have not reviewed it, have all the parties on the line who

11      have interest in reviewing the order, the proposed order,

12      which is I think at ECF 606-1 had an opportunity to review

13      that order?

14                  MR. BAKER:     Your Honor, this is Reese Baker, I

15      have not.     I have no internet, so I have not been able to

16      access this yet, at this point and time.

17                  THE COURT:     Mr. Baker, your client is well

18      represented today.       I mean, there are multiple parties who

19      are here representing 2425 West Loop.         So, Mr. Sather, I

20      think, can step into that void if you have a problem.

21                  MR. MACNAUGHTON:     Your Honor, this is Robert

22      MacNaughton.     I just had the power go out and I was just

23      looking at the plan or the amended order, excuse me, and I

24      have not had a chance to see it.

25                  THE COURT:     All right.   Mr. Shannon, I'm happy to
     Case 23-34815 Document 846-14 Filed in TXSB on 12/04/24 Page 8 of 9 Page 7



 1      sign a revised form of order as soon as everyone has had a

 2      chance to review it and there aren't any objections.           But

 3      given the weather today, that may not be possible for all of

 4      the parties who are present.         I'm assuming that this storm's

 5      going to pass through and that hopefully everyone gets their

 6      power back.     May I make a suggestion that we adjourn until

 7      2:00 p.m. today and see if everyone can review that order?

 8      If they have no objections, I'm happy to sign it at that

 9      point and time.

10                  MR. SHANNON:     Obviously, Your Honor, that makes

11      sense to us.       It sounds like you're not going to sign it

12      otherwise, so that works for me and the Trustee, I believe.

13                  THE COURT:     All right.    So, let's do this.    I'm

14      going to adjourn hearing until 2:00 p.m. today, ask everyone

15      to attempt to review the revised order which is at 606-1.

16      Assuming that there aren't any objections, and everyone is

17      happy with that language, I'm happy to sign that order at

18      2:00 and put this matter to bed.         If there are objections,

19      I'll hear them at 2:00 p.m. today, okay?         Thank you all for

20      appearing and stay high and dry.

21                  ALL:     Thank you, Your Honor.

22                  THE COURT:     Thank you.

23                  MR. SHANNON:     Thank you, may I be excused?

24                  THE COURT:     You may

25            (Proceedings adjourned at 11:17 a.m.)
     Case 23-34815 Document 846-14 Filed in TXSB on 12/04/24 Page 9 of 9 Page 8



 1                           C E R T I F I C A T I O N

 2

 3             I, Sonya Ledanski Hyde, certified that the foregoing

 4      transcript is a true and accurate record of the proceedings.

 5

 6

 7

 8      Sonya Ledanski Hyde

 9

10

11

12

13

14

15

16

17

18

19

20      Veritext Legal Solutions

21      330 Old Country Road

22      Suite 300

23      Mineola, NY 11501

24

25      Date    August 15, 2024
